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 1   Eliot A. Adelson (SBN 205284)
     James Maxwell Cooper (SBN 284054)
 2   KIRKLAND & ELLIS LLP
     555 California Street, 27th Floor
 3   San Francisco, CA 94104
     Telephone: (415) 439-1400
 4   Facsimile: (415) 439-1500
     Email: eadelson@kirkland.com
 5   Email: max.cooper@kirkland.com
 6   James H. Mutchnik, P.C. (pro hac vice)
     Kate Wheaton (pro hac vice)
 7   KIRKLAND & ELLIS LLP
     300 North LaSalle
 8   Chicago, IL 60654
     Telephone: (312) 862-2000
 9   Facsimile: (312) 862-2200
     Email: jmutchnik@kirkland.com
10   Email: kate.wheaton@kirkland.com
11   Attorneys for Defendants
     HITACHI, LTD., HITACHI AMERICA, LTD.,
12   HITACHI ASIA, LTD., HITACHI DISPLAYS,
     LTD. (n/k/a JAPAN DISPLAY, INC.), HITACHI
13   ELECTRONIC DEVICES (USA), INC.
14                                    UNITED STATES DISTRICT COURT

15                                 NORTHERN DISTRICT OF CALIFORNIA

16                                         SAN FRANCISCO DIVISION

17   IN RE: CATHODE RAY TUBE (CRT)                       CASE NO.: 3:07-cv-05944-SC
     ANTITRUST LITIGATION
18                                                       MDL NO.: 1917
     ________________________________________
19                                                       Individual Case No. 3:13-cv-02171-SC
     This Document Relates To:
20                                                       HITACHI DEFENDANTS’
     Dell Inc., et al. v. Hitachi, Ltd., et al.          OPPOSITION TO DELL INC.’S AND
21                                                       DELL PRODUCTS L.P.’S
                                                         ADMINISTRATIVE MOTION TO
22                                                       CONFIRM ITS OPT OUT REQUEST
                                                         OR, IN THE ALTERNATIVE, FOR AN
23                                                       ENLARGEMENT OF TIME TO OPT
                                                         OUT
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     HITACHI DEFENDANTS’ OPPOSITION TO DELL’S                                            MDL NO.: 1917
     MOTION TO ENLARGE THE OPT-OUT DEADLINE                      INDIVIDUAL CASE NO.: 3:13-CV-02171-SC
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 1            Defendants Hitachi, Ltd., Hitachi America, Ltd., Hitachi Asia, Ltd., Hitachi Displays, Ltd.
 2   (n/k/a Japan Display Inc.) and Hitachi Electronic Devices (USA), Inc. (the “Hitachi Defendants”)
 3   submit this Opposition to the Administrative Motion to Confirm Its Opt Out Request Or, In The
 4   Alternative, For An Enlargement of Time to Opt Out, filed by Dell Inc. and Dell Products L.P.
 5   (collectively “Dell”).
 6   I.       INTRODUCTION
 7            Dell did not timely opt out of the Hitachi Defendants’ and SDI Defendants’ settlements with
 8   the Direct Purchaser Plaintiffs (“DPP Settlements”). Those settlements total over $46 million and
 9   Dell will be entitled to its share of that pot of money. Two weeks after the deadline to opt out of the
10   DPP Settlements, Dell submitted its opt-out request. See Decl. of Debra D. Bernstein, ECF No.
11   2696-1 (“Bernstein Decl.”), ¶ 9. Almost another two weeks after that, Dell contacted counsel for the
12   Hitachi Defendants, asking the Hitachi Defendants to waive the missed deadline. Id. at ¶ 11. Dell
13   now moves this Court to either (1) construe its untimely request to opt out as timely, or (2)
14   retroactively extend the deadline for opting out.
15            Dell provides no legitimate excuse for why it did not opt out by the deadline. It complains
16   that it did not receive notice and that one part of the claims administrator’s website did not have the
17   correct date. The claims administrator, however, confirms that Dell was given notice by mail and
18   through the Wall Street Journal. Further, the claims administrator’s website had the actual notice
19   posted and an FAQ section, both of which specified the June 12 deadline. Eighteen other corporate
20   families were given the exact same notice as Dell, and they opted out of the DPP Settlements on
21   time.1 Just like Dell, they received ample notice of the DPP Settlements and of the deadline.
22   Because Dell cannot establish excusable neglect for not meeting the deadline, Dell’s motion should
23   be denied.
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27   1
          Dell is joined only by Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America
          Inc. (collectively “Sharp”) among plaintiffs who have previously filed individual complaints, but did not opt out on
28
          time. See Decl. of Ross Murray at ¶ 10, Ex. D (“Murray Decl.”).

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 1   II.       ARGUMENT
 2             A.       Dell’s standard is inapplicable.
 3             Perhaps realizing that it cannot meet the real legal standard, Dell focuses on a legal standard

 4   that does not apply in the Ninth Circuit. Dell claims that “any ‘reasonable indication’ of a party’s

 5   desire to seek exclusion from a class is sufficient.” See Dell’s Administrative Motion, ECF No.

 6   2696 (“Br.”), 3. The Ninth Circuit disagrees. Here, “[t]he standard for determining whether [a

 7   plaintiff] should be allowed to opt-out of the class after the applicable deadline is whether its failure

 8   to comply with the deadline is the result of ‘excusable neglect.’” In re Static Random Access

 9   Memory Antitrust Litig., No. C 07-01819, 2009 WL 2447802, at *2 (N.D. Cal. Aug. 7, 2009); Silber

10   v. Mabon, 18 F.3d 1449, 1455 (9th Cir. 1994) (remanding where it was unclear if district court had

11   considered if there was excusable neglect).2 Dell does not provide evidence of excusable neglect.

12             B.       Dell has not demonstrated “excusable neglect.”
13             Courts determine whether movants have shown excusable neglect by examining four factors:

14   (1) the danger of prejudice to nonmoving parties; (2) the length of the delay; (3) the reason for the

15   delay; and (4) whether the movant acted in good faith. See Br. at 5 (citing Pioneer Inv. Servs. Co. v.

16   Brunswick Assocs. Ltd. P’Ship, 507 U.S. 380, 395 (1993)).

17                      1.       Prejudice
18             Especially in complex class actions like this one, deadlines are necessary and enforced. See

19   In re Gypsum Antitrust Cases, 565 F.2d 1123, 1127 (9th Cir. 1977). So courts draw a line. See

20   Georgine v. Amchem Prod.’s, Inc., No. 93-0215, 1995 WL 251402, at *6 (E.D. Penn. April 26,

21   1995) (“This Court sees no more appropriate time to draw a ‘white line’ than the opt-out deadline

22   itself.”). Indeed, courts find no excusable neglect in cases involving less robust notice (such as

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           Dell cites no Ninth Circuit cases from the last 25 years where the court used “reasonable indication.” In re TFT-
           LCD (Flat Panel) Antitrust Litigation did not consider an untimely exclusion request but rather whether a timely
26
           request was sufficient for its subsidiary. No. 13-cv-3349, 2014 WL 1379204, at *2 (N.D. Cal. April 8, 2014).
           McCubbrey v. Boise Cascade Home & Land Corp. neither uses the term “reasonable indication” nor controls here.
27
           71 F.R.D. 62 (N.D. Cal. 1976). In re Brand Name Prescription Drugs Antitrust Litig. applies in the Northern
           District of Illinois. 171 F.R.D. 213 (N.D. Ill. 1997). Council on Social Work Educ., Inc. v. Tex. Instruments applies
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           in the Northern District of Texas. 105 F.R.D. 68, 71 (N.D. Tex. 1985).

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 1   where movant did not know a class action was pending),3 more sympathetic plaintiffs,4 and less
 2   elapsed time between the missed deadline and counsel’s attempts to correct it.5 If the deadline is
 3   retroactively extended, it will undermine deadlines and certainty in this complex case. See id.
 4           In contrast, there is no prejudice to Dell if it remains in the settlement class. It will be
 5   entitled to its share of the $46,450,000 DPP Settlements. Further, having timely opted out of all the
 6   other class action settlements, Dell may be able to recover all of its alleged damages from any one or
 7   more of the defendants in its other direct action cases under joint and several liability.
 8                    2.        Timing
 9           The second factor, the length of the delay, does not support a finding of excusable neglect.
10   Courts have found no excusable neglect for shorter delays. See, e.g. Demint, 28 F.R.D. at 640. And,
11   in cases regarding other missed deadlines, the Ninth Circuit has held inexcusable delays as short as
12   one day. See, e.g., Clark v. H.R. Textron, Inc., 66 F.3d 334, at *1-2 (9th Cir. 1995) (affirming denial
13   to enlarge time one day after the deadline and with immediate notice to opposing counsel); see also
14   Kyle v. Campbell Soup Co., 28 F.3d 928, 929 (9th Cir. 1994) (affirming denial to extend deadline
15   two days after the deadline).
16                    3.        Reason for the Delay
17           The third factor is the most significant: the reason for the delay. Failure to provide an excuse
18   “largely moots any further inquiry into the other pertinent factors.” Demint, 208 F.R.D. at 642 n.5;
19   see also U.S. v. Torres, 372 F.3d 1159, 1162-63 (10th Cir. 2004) (reversing finding of excusable
20   neglect even though “[t]hree of the relevant circumstances noted in Pioneer weigh in favor of a
21   finding of excusable neglect”) (citing Pioneer, 507 U.S. 380).
22

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24   3
         See, e.g., In re PaineWebber Ltd. P’Ship Litig., 147 F.3d 132, 135 (2d Cir. 1998) (affirming district court’s refusal to
         enlarge opt-out period where movant “lacked knowledge of the Class Action, the opt-out deadline, and the effect of
25
         the Class Action on his rights until after the deadline had passed”).
26   4
         Id. at 134 (noting that movant “did not discover the Notice until after his discharge from the hospital” because
         movant, “then a 78-year-old man, unmarried and without children, received no mail during his hospitalization”).
27
     5
         See, e.g., Demint v. NationsBank Corp., 208 F.R.D. 639, 642 n.5 (M.D. Fla. 2002) (referring to the plaintiffs’
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         “somewhat conclusional assertion of a lack of prejudice” because the delay was twelve days as “dubious”).

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 1           Courts do not accept any excuse: “inadvertence, ignorance of the rules, or mistakes
 2   construing the rules do not usually constitute ‘excusable’ neglect . . . .” Pioneer, 507 U.S. at 392.
 3   As the Ninth Circuit recognized, “it is the responsibility of all attorneys to keep track of deadlines
 4   relevant to their clients’ cases.” In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 460 F.3d
 5   1217, 1245 (9th Cir. 2006).
 6           Indeed, in In re SRAM, the court rejected Intel’s motion to enlarge the opt-out period despite
 7   counsel’s excuse that “miscommunications” caused the missed deadline. 2009 WL 2447802, at *2.
 8   Granting relief would mean there “would be no rational way to draw the line between excusable and
 9   non-excusable neglect if other class members in the case sought to opt out.” Id.; see also Brannon v.
10   Household Int’l Inc., 236 F. App’x 285, 288 (9th Cir. 2007) (affirming refusal to enlarge an opt-out
11   deadline and noting that “oversight and confusion . . . need not be excused”).
12           As its excuse, Dell offers “confusion regarding the opt-out deadline created by the class
13   administrator’s settlement website not being properly updated to reflect the opt-out deadline,” class
14   administrator’s alleged “failure to serve Dell with actual notice of the opt-out deadline,” and
15   “outside counsel’s reasonable mistake regarding the opt-out deadline.”                        Br. at 5.      But these
16   explanations are not excusable neglect. Dell knew or should have known about the deadline.
17           On April 14, 2014, the Court granted preliminarily approval of the DPP Settlements. See
18   Dkt. No. 2534. Plaintiff Costco Wholesale Corporation submitted its exclusion request nine days
19   later, on April 23, 2014 — before the class administrator distributed formal written notice. See
20   Murray Decl. at ¶ 10, Ex. D. Others opted out in May and June. Id. Dell did not.
21           Between April and June, Dell was given repeated notice of the deadline:
22                    1.       The administrator mailed notice to Dell.6 See Murray Decl. at ¶ 4. The postal
                               address used was the same that was used to provide notice of the other class
23                             settlements, all of which Dell timely opted out of. Id. at ¶¶ 4-5. The notice
                               says that opt-outs “must mail your exclusion request, postmarked no later than
24                             June 12, 2014 . . .” Id. at Ex. A.
25                    2.       The administrator’s website contained the actual notice and “Frequently
                               Asked Questions,” both of which said you “must mail your exclusion request,
26                             postmarked no later than June 12, 2014 . . .” See id. at ¶ 6, Ex. B.
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         Notice was mailed to two Dell entities. One of the notices was returned as undeliverable, but the other was not.

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 1                   3.      The administrator published notice in the Wall Street Journal, which said that
                             “you must exclude yourself in writing by June 12, 2014, or you will not be
 2                           able to sue, or continue to sue, the Settling Defendants about the legal claims
                             in this case.” See id. at ¶ 8, Ex. C.
 3
              By the deadline, June 12, eighteen other corporate families had opted out. See Murray Decl.
 4
     at ¶ 10, Ex. D. Yet Dell did not submit its exclusion request until June 26, and only did so after
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     speaking with DPP counsel and learning that the deadline had already passed. See id.; Bernstein
 6
     Decl. at ¶ 7. And then Dell waited until July 8, almost two more weeks, to notify the Hitachi
 7
     Defendants that it did not wish to be part of the class. See Bernstein Decl. at ¶ 11.
 8
              C.     Even under Dell’s preferred standard, it has not provided a “reasonable
 9                   indication.”
10            Setting aside that a “reasonable indication” is not the right standard, that Dell filed a separate

11   complaint or engaged in post-deadline discovery is not a “reasonable indication” of its desire to opt

12   out of the DPP Settlements. The “mere pendency and continued prosecution of a separate suit,

13   which the litigant instituted before commencement of the ‘opt-out’ period in a related class action,

14   neither registers nor preserves a litigant’s ‘opt out’ of the related class action.” Demint, 208 F.R.D.

15   at 641. This is true because Dell retained the right to participate in the DPP Settlements rather than

16   continue to prosecute its claims individually. Finally, until the DPP Settlements are final, and in the

17   face of upcoming expert and discovery deadlines, the Hitachi Defendants have had to continue to

18   litigate with Dell.

19   III.     CONCLUSION
20            Dell has not demonstrated the requisite excusable neglect to allow it to opt out of the DPP

21   Settlements after the deadline. The Court should thus deny its motion.

22   DATED: July 28, 2014                              Respectfully submitted,
23                                                     By: /s/ Eliot A. Adelson
                                                       Eliot A. Adelson
24                                                     James Maxwell Cooper
                                                       KIRKLAND & ELLIS LLP
25
                                                       Attorneys for Defendants
26                                                     HITACHI, LTD., HITACHI DISPLAYS, LTD.
                                                       (n/k/a JAPAN DISPLAY INC.), HITACHI
27                                                     AMERICA, LTD., HITACHI ASIA, LTD., AND
                                                       HITACHI ELECTRONIC DEVICES (USA), INC.
28

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